    Case 21-00385-dd          Doc 23      Filed 07/06/22 Entered 07/06/22 11:39:55                  Desc Main
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                                       UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF SOUTH CAROLINA

IN RE:                                                                   CHAPTER 13
SARAH ELIZABETH CHAVIS
2312 NINETY SIX ROAD                                                     CASE NO.: 21-00385-dd
NORTH, SC 29112

                               DEBTOR




     NOTICE OF MOTION, MOTION TO DISMISS CASE, NOTICE OF OPPORTUNITY FOR HEARING

    Pamela Simmons-Beasley, Chapter 13 Trustee, moves to dismiss this case based upon the grounds stated in this
notice and motion.

   Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if
you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

   If you do not want the court to dismiss your case, or if you want the court to consider your views on the trustee’s
motion, then within 21 days of service of this notice, you or your attorney must:

    File with the court a written response, return, or objection at:
    J. Bratton Davis U.S. Bankruptcy Courthouse
    1100 Laurel Street
    Columbia, South Carolina, 29201-2423

    Responses, returns, or objections filed by an attorney must be electronically filed in ecf .scb.uscourts.gov.

    If you mail your response, return, or objection to the court for filing, you must mail it early enough so the court will
receive it on or before the date stated above.

    You must send a copy of your response, return, or objection to Pamela Simmons-Beasley, 250 Berryhill Road, Suite
402, Columbia, South Carolina, 29210.

   Attend the hearing scheduled to be heard on August 08, 2022, at 10:00 a.m. at J. Bratton Davis U.S. Bankruptcy
Courthouse, 1100 Laurel Street, Columbia, SC 29201.

    If no response, return, and/or objection is timely filed and served, no hearing will be held on this motion,
except at the direction of the judge.

   If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the
motion and may enter an order granting that relief prior to the scheduled hearing date , if determined to be appropriate.

     The Chapter 13 Trustee, based upon 11 U.S.C. § 1307(c), moves to dismiss the above-referenced case because you
failed to:

    make the required payments pursuant to 11 U.S.C. § 1307(c). Should you fail to cure the delinquency within the time
period to respond to this Motion set forth above, the trustee may request dismissal of this case without further notice or
hearing. The trustee will request dismissal of your case at your next scheduled confirmation hearing if you have not cured
the delinquency and the case has not otherwise been dismissed.
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                                                                        /s/ Pamela Simmons-Beasley
Date: July 06, 2022                                                     Pamela Simmons-Beasley, Trustee
                                                                        250 Berryhill Road, Suite 402
                                                                        Columbia, SC 29210
                                                                        Phone: (803) 779-5180 Fax: (803) 765-0167
                                                                        E-mail: pleadings@ch13trustee.net

                                             CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the Trustee’s Petition to Dismiss was served on the debtor at the below
address and the attorney for the debtor (if applicable) by US Mail first class postage prepaid or electronically through the
Court’s ECF System at the email address registered with the court.

Date: July 06, 2022

Attorney for the Debtor (if applicable)                           Debtor
MOSS AND ASSOCIATES                                               SARAH ELIZABETH CHAVIS
816 ELMWOOD AV                                                    2312 NINETY SIX ROAD
COLUMBIA, SC 29201
                                                                  NORTH, SC 29112

                                                                  /s/ Latoya Manigo
                                                                  Chapter 13 Trustee’s Office
